ILND 450 (Rev. 10/13) Judgment in a Civil Action


                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Deborah Poole,

Plaintiff(s),
                                                                   Case No. 1:21-cv-03580
v.                                                                 Judge Thomas M. Durkin

United States Postal Service et al,

Defendant(s).

                                                   JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


               other: The Court ordered that failure to pay the filing fee by January 31, 2022 would result in
dismissal of the case. That date has now passed, and no payment has been received. Accordingly, Ms. Poole’s
complaint is dismissed without prejudice. L.R. 3.3(f).

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge       on a motion



Date: 2/1/2022                                                 Thomas G. Bruton, Clerk of Court

                                                               E. Wall, Deputy Clerk
